 

Case 1:20-cv-07311-LAK Docu

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

E. JEAN CARROLL,

Plaintiff,
-against-

DONALD J. TRUMP, in his personal capacity,

Defendant.

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20 Civ. 7311 (LAK)

ORDER

LEWIS A. KAPLAN, District Judge.

The argument of the pending motion on October 21 shall take place in Courtroom

21B rather than the ceremonial courtroom.
SO ORDERED.

Dated: October 14, 2020

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Lewis A. Rap
United States Distréct Judge

 
